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                      UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF IDAHO


  JENNIFER A. WARREN, an
  individual,                                Case No. 1:22-cv-00198-BLW

        Plaintiff,                           MEMORANDUM DECISION
                                             AND ORDER
         v.

  BOISE POLICE DEPARTMENT,
  ADA COUNTY PROSECUTORS,
  BOISE CITY PROSECUTORS,
  ATTORNEY GENERAL OF IDAHO,
  and FACES OF HOPE VICTIM
  CENTER,

        Defendants.



                                 INTRODUCTION

      Before the Court is Defendant Faces of Hope’s Motion for Extension of

Time and Definitive Response Deadline to Plaintiff’s [Second] Amended

Complaint (Dkt. 36). For the reasons discussed below, the Court will grant the

motion in part and deny it in part.

                                 BACKGROUND
      On December 1, 2022, this Court granted Defendant Faces of Hope’s motion

to dismiss, but provided Plaintiff leave to amend within twenty (20) days. Dkt. 25.




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Warren filed an amended complaint (Dkt. 29) on December 20, 2022 and

purportedly served it on Faces of Hope on December 21, 2022 (Dkt. 31).

       Faces of Hope now gives two reasons for the Court to extend the response

deadline until after the 90-day window for service of process under Federal Rule of

Civil Procedure 4(m). First, it believes that Warren’s purported service on

December 21 was improper and intends to move for dismissal on that ground. But

because Warren would likely be permitted to cure service until 90-days has lapsed

under Rule 4(m), Faces of Hope wishes to delay its objection until the cure-period

has lapsed. Second, Faces of Hope requests more time to respond given difficulties

of “parsing through a pro se filing” and “client availability issues” during the

holiday season. Given the number of defendants and unresolved motions to

dismiss, Faces of Hope believes that granting its motion would not delay resolution

of this case.

                                   DISCUSSION

       The Court is not persuaded by Faces of Hope’s first argument. One of the

reasons for Rule 4(m)’s 90-day window for serving process is to allow parties an

opportunity to cure defective service. It is true that Warren’s first attempt at service

was defective. But litigants—especially pro se litigants—are often given more than

one strike when it comes to service of process. Intentionally letting the 90-day




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clock run out would deny Warren the opportunity to cure service of process based

on Faces of Hope’s objection.1

       Faces of Hope’s second argument is stronger. There are two major holidays

within the fourteen days after Warren filed her second amended complaint on

December 20. Faces of Hope’s reported client availability issues are therefore

unsurprising and weigh in favor of a reasonable extension to the response deadline.

Moreover, as Faces of Hope notes, given the numerous defendants and outstanding

motions to dismiss, a reasonable extension will not delay the litigation as a whole.

Rather, the Court finds that an extension is necessary to ensure Faces of Hope has

adequate time to file an answer or other response.

                                         ORDER
       IT IS ORDERED that:

       1.      Faces of Hope’s Motion for Extension of Time and Definitive

               Response Deadline to Plaintiff’s [Second] Amended Complaint (Dkt.

               36) is GRANTED in part and DENIED in part. Accordingly:

               a.    Faces of Hope shall respond to Warren’s Second Amended

                     Complaint (Dkt. 29) no later than January 31, 2023.



       1
       This Order does not resolve the question of whether Warren’s purported service on
December 21, 2022, was effective.
                                                                DATED: December 30, 2022

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                                                                U.S. District Court Judge
